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                            UNITED STATES DISTRICT COURT

                              WESTERN DISTRICT OF TEXAS

                                      WACO DIVISION

 UNITED STATES OF AMERICA                       §
                                                §
 V.                                             §      CAUSE NO. 6:07-CR-00022-ADA-2
                                                §
 PATRICK ESTELL JONES                           §



                                    NOTICE OF APPEAL
       Patrick Estell Jones gives notice that he appeals to the United States Court of Appeals for

the Fifth Circuit from this Court’s order (docket entry 187) denying his Motion for Reduction of

Sentence under Section 404 of the First Step Act (docket entry 182). The order was entered on

February 26, 2020.

       An order denying a motion for reduction of sentence is a final and appealable order. 28

U.S.C. § 1291.

       DATED this the 11th day of March, 2020.
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                                          Respectfully submitted.

                                          MAUREEN SCOTT FRANCO
                                          Federal Public Defender



                                          /S/__________________________________
                                          HORATIO R. ALDREDGE
                                          Assistant Federal Public Defender
                                          Western District of Texas
                                          504 Lavaca, Suite 960
                                          Austin, Texas 78701
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                                          Bar Number: Texas 00795216
                                          Attorney for Defendant

                              CERTIFICATE OF SERVICE
       I hereby certify that on the 11th day of March, 2020, I filed the foregoing Notice of
Attorney Appearance using the CM/ECF system which will give electronic notification to the
following:

Mark Frazier
U.S. Attorney's Office
800 Franklin, Suite 280
Waco, TX 76701
(254) 750-1580

                                          __________________________________________
                                                /s/ HORATIO R. ALDREDGE
